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                      UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

MORINVILLE, )                                       Case No. 20-cv-00980
                          )
      Plaintiff, )

      v.              )
                          )
OVERWATCH )
TECHNOLOGIES, INC. ET )
AL.,                   )
                          )
      Defendants. )



                PLAINTIFF S MOTION TO AMEND COMPLAINT

                                  EXHIBIT J




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News Opinion Sport Culture Lifestyle




AFL

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AFL to use eye technology and 'smart' mouthguards
in new concussion studies

Guardia sport
Fri 12 Mar 2021 02.27 EST
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The AFL will embrace technology in the rollout of two major concussion projects
during the 2021 season in an effort to better understand head trauma and how to
protect the health and safety of its players.

The league on Friday wrote to clubs to encourage them to participate in the studies,
which will use eye tracking technology and smart mouthguards to collect data.
The projects, named Bio-Eye and HitlQ, are the latest attempts by the league to
address the issue of long-term effects of concussion.

                     Bio-Eye is an eye tracking technology that provides objective
data the AFL hopes can supplement the subjective data and information that is
already used by medical teams. HitlQ, meanwhile, uses a mouthguard-based head
impact sensor system to gather data that can be used to explore any links between
head knocks and concussion.

The AFL s general counsel, Andrew Dillon, said he hoped the projects would provide
the league and concussion experts with valuable data.

“The health and safety of our players is of paramount concern to the AFL and we are
committed to further research in this area, Dillon said. “The two studies will
complement our continued action in this space over recent years including
strengthening of the match-day protocols and amendments to the laws of the game
to discourage high contact.

“We are also using technology that is embedded in the ARC to provide nother
mechanism to identify potential concussive incidents that would not have
otherwise been detected. We are encouraging all clubs to be involved in these
studies.”


Bio-Eye s website claims it is a “low-cost method for the detection of sports
concussion at clinics and on the sidelines”. The technology is also used to detect
drug impairment in commercial truck drivers and to monitor cognitive decline, the
website says.

                     The AFL said the purpose of the study was “to determine
whether the Bio-Eye application provides a valuable addition to the tests commonly
used to diagnose and manage concussion”.

The test, which uses a mobile phone to measure changes in eye movement, will be
administered by club doctors or a nominated club representative, in addition to the
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  The moves come amid an increasingly loud conversation over the long-lasting
  effects of head trauma in collision sports. The AFL has made recent attempts to
  address the issue and revealed new guidelines around head trauma in January, with
  players to be sidelined for at least 12 days if they suffer a concussion.

  Concern over concussions led the league on Friday to reportedly consider a request
  from some coaches to use a substitute player to replace a concussed teammate this
  season. The league is also understood to be considering a proposal for a landmark
  multimillion-dollar concussion trust for players.

  The AFL says it is committed to minimising the impact of head injuries, and is
  currently in the final stages of interviewing for a new role - a concussion lead.

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